Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 178 Filed: 04/11/22 Page: 1 of 2 PAGEID #: 5774




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

   MICHAEL E. GONIDAKIS, et al.,                 :
                                                 :
                 Plaintiff,                      :     Case No. 2:22-cv-0773
                                                 :
          v.                                     :     Chief Judge Algenon L. Marbley
                                                 :     Judge Amul R. Thapar
   OHIO REDISTRICTING                            :     Judge Benjamin J. Beaton
   COMMISSION, et al.,                           :
                                                 :     Magistrate Judge Elizabeth P. Deavers
                 Defendants.                     :

                                      COURTROOM MINUTES
                                      Local Rule 65.1 Conference

    U.S. District Chief Judge Algenon L.              Date: April 11, 2022 @ 9:00 a.m.
    Marbley, Sixth Circuit Judge Amul R.
    Thapar, and District Judge Benjamin J.
    Beaton (WDKY)


    Deputy Clerk:      Diane Stash                    Counsel for the Simon Percy Squire
                                                      Intervenor Plaintiffs:
    Court Reporter:    Shawna Evans                   Counsel for              Julie Pfeiffer, Michael
                                                      Defendants:              Walton, Jonathan
                                                                               Blanton, Allison Daniel
    Log In             n/a                            Log Out                  n/a

  Additional counsel in attendance:

  Donald Brey representing Plaintiffs Michael Gonidakis, Mary Parker, Margaret Conditt, Beth
  Vanderkooi, Delbert Duduit, Thomas W. Kidd, Jr., Ducia Hamm, and Linda Smith.

  Donald McTigue and David Fox representing Intervenor Plaintiffs Bria Bennett, Regina Adams,
  Kathleen Brinkman, Martha Clark, Susanne L. Dyke, Meryl Neiman, Holly Oyster, Constance
  Rubin, and Everett Totty.

  Christina Marshall representing Intervenor Plaintiff The Ohio Organizing Collaborative, Council
  on American-Islamic Relations, Ohio Environmental Council, Samuel Gresham, Jr., Ahmad
  Aboukar, Mikayla Lee, Prentiss Haney, Pierrette M. Talley, and Crystal Bryant.
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 178 Filed: 04/11/22 Page: 2 of 2 PAGEID #: 5775




  David Carey representing Intervenor Defendant League of Women Voters of Ohio and A. Philip
  Randolph Institute of Ohio.

  Benjamin Cooper representing Intervenor Defendants Vernon Sykes and Allison Russo.

  Phillip Strach and Philip Williamson representing Intervenor Defendants Matt Huffman and
  Robert Cupp.

  Ashley Merino representing Intervenor Defendant Ohio Restricting Commission.

  The parties appeared before the Court for a Local Rule 65.1 conference on the Simon Parties’
  Second Motion for a Temporary Restraining Order (ECF No. 147).

  Counsel for all parties presented argument and responded to questions from the Judges on the
  issue of the Simon Parties’ Second Motion for a Temporary Restraining Order pursuant to Fed R.
  Civ. P. 65(b) to enjoin Defendants, their agents and successors in office, and all persons acting in
  concert with them from certifying the results of any election for representative for the 6th Ohio
  United States Congressional District proposed in the March 2, 2022, Congressional Redistricting
  Plan.

  The Court will take the issue under advisement and will issue a written Opinion & Order that
  will be docketed by noon on Tuesday, April 12, 2022.
